                              Case 18-31114-KKS                 Doc 8      Filed 12/05/18           Page 1 of 2

Information to identify the case:
Debtor 1              Theresa Bryant Wallace                                             Social Security number or ITIN       xxx−xx−0351
                      First Name   Middle Name    Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                         EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Florida
                                                                                         Date case filed for chapter 7 12/4/18
Case number:          18−31114−KKS


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         07/18

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully. To protect your rights, consult an attorney.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or through PACER
(Public Access to Court Electronic Records at www.pacer.gov). Anyone can register for the Electronic Bankruptcy Noticing
program at ebn.uscourts.gov to quickly receive court−issued notices and orders by email. This program is FREE.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       Theresa Bryant Wallace

2.      All other names used in the aka Theresa B. Wallace, aka Theresa
        last 8 years                Wallace

3.      Address                                  420 Churchwell Rd #18608
                                                 Panama City Beach, FL 32407−9998

4.     Debtor's attorney                     Steven D. Jurnovoy                                       Contact phone 850 / 432−9110
       Name and address                      Lewis & Jurnovoy, P.A.
                                             1100 North Palafox Street                                Email: landj@4−debtor.com
                                             Pensacola, FL 32501

5.     Bankruptcy trustee                    Mary W. Colon                                            Contact phone 850−241−0144
       Name and address                      P.O. Box 14596
                                             Tallahassee, FL 32317                                    Email: trustee@marycolon.com
                                                                                                              For more information, see page 2 >



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Debtor Theresa Bryant Wallace                                                                                                Case number 18−31114−KKS


6. Bankruptcy clerk's office                      110 E. Park Ave., Ste. 100                                          Hours open 9:00am − 4:00pm
                                                  Tallahassee, FL 32301
    Documents in this case may be filed at this                                                                       Contact phone 1−866−639−4615
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                                    Date: 12/5/18


7. Meeting of creditors                           January 30, 2019 at 10:00 AM, CT                                    Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a                      100 N. Palafox Street, Room 66,
    questioned under oath. In a joint case,       later date. If so, the date will be on the court                    Pensacola, FL 32502
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.

                                                      *** Valid photo identification and proof of Social
                                                                 Security Number required ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                         Filing deadline:
                                               to challenge whether certain debts are                                 4/1/19
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:

                                                           • if you assert that the debtor is not entitled to
                                                             receive a discharge of any debts under any of
                                                             the subdivisions of 11 U.S.C. § 727(a)(2) through
                                                             (7), or

                                                           • if you want to have a debt excepted from
                                                             discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:

                                                           • if you assert that the discharge should be denied
                                                             under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                                   Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as exempt. If      conclusion of the meeting of creditors
                                                  you believe that the law does not authorize an exemption claimed,
                                                  you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
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